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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        DEL RIO DIVISION

G&G CLOSED CIRCUIT EVENTS, LLC,                             §
as Broadcast Licensee of the May 6, 2017                    §
Saul Alvarez v. Julio Cesar Chavez, Jr. Super               §
Middleweight Championship Fight Program,                    §
                                                            §
      Plaintiff,                                            §
                                                            §
v.                                                          §   Civil Action No. 2:20-cv-00034
                                                            §
JAVIER A. CASTILLO a/k/a JAVIER CASTILLO,                   §
individually, and d/b/a B-29 LOUNGE,                        §
                                                            §
      Defendant.                                            §

                                PLAINTIFF’S ORIGINAL COMPLAINT

         Plaintiff G&G Closed Circuit Events, LLC (“Plaintiff”) files Plaintiff’s Original

Complaint against Defendant Javier A. Castillo a/k/a Javier Castillo, individually, and d/b/a B-29

Lounge (“Defendant”).

                                                 PARTIES

         1.        Plaintiff. G&G Closed Circuit Events, LLC, as Broadcast Licensee of the May 6,

2017 Saul Alvarez v. Julio Cesar Chavez, Jr. Super Middleweight Championship Fight Program

is a foreign corporation. Plaintiff’s business address is 2380 South Bascom Avenue, Suite 200,

Campbell, California 95008.

         2.        Defendant. Javier A. Castillo is an individual residing in the State of Texas. On

the date of the Event (as defined herein), Defendant:

                   A.       owned and/or operated the establishment known as B-29 Lounge, located
                            at 102 ½ Dr. Fermin Calderon Blvd., Del Rio, TX 78840 (the
                            “Establishment”);

                   B.       held the license/permit issued by the Texas Alcoholic Beverage
                            Commission for the Establishment;

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                  C.        had a right and ability to supervise the activities of the Establishment; and

                  D.        had an obvious and direct financial interest in the activities of the
                            Establishment.

Defendant may be served by delivering the Summons and a copy of Plaintiff’s Original

Complaint to Defendant at 700 Virginia St., Del Rio, TX 78840; or at 102 ½ Dr. Fermin

Calderon Blvd., Del Rio, TX 78840; or at 104 Dr. Fermin Calderon Blvd., Del Rio, TX 78840.

                                           STATEMENT OF JURISDICTION

         3.       This action arises under the Communications Act of 1934, as amended, 47 U.S.C.

§§ 553 or 605 in Texas.

                                                    VENUE

         4.       Venue is proper in this District because Defendant resides in this District and a

substantial part of the events giving rise to the claim occurred in this District.

                                            STATEMENT OF THE CLAIM

         5.       Authorization to License Event. Plaintiff is the license company exclusively

authorized to sub-license the closed-circuit telecast of the May 6, 2017 Saul Alvarez v. Julio

Cesar Chavez, Jr. Super Middleweight Championship Fight Program, including undercard or

preliminary bouts, (collectively the “Event”) 1 at closed-circuit locations such as theaters, arenas,

bars, clubs, lounges, restaurants and the like throughout Texas.

         6.       The closed-circuit broadcast of the Event was not intended for the use of the

general public. In Texas, the closed-circuit broadcast of the Event could only be exhibited in a

commercial establishment, if the establishment was contractually authorized to do so by Plaintiff.



         1
          One of the bouts for the Event included the fight between Saul Alvarez and Julio Cesar Chavez,
Jr., which was the main event.

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         7.       Pursuant to its authority to sub-license the Event, Plaintiff marketed and

distributed the closed-circuit rights granted to it. Plaintiff, through its agents, contracted with

various establishments throughout Texas and granted such establishments the right to broadcast

the Event in exchange for a fee.

         8.       Exhibition of the Event. The transmission of the Event originated via satellite and

was electronically coded or “scrambled.” In order for the signal to be received and telecast

clearly, it had to be decoded with electronic decoding equipment.

         9.       The transmission of the Event was available to Defendant to purchase for

broadcast in the Establishment. Had Defendant chosen to purchase the Event, Defendant would

have been authorized to receive, transmit and publish the Event in the Establishment. Defendant

did not, however, contract with Plaintiff or any of its agents, to obtain the rights to broadcast the

Event.

         10.      The establishments which contracted with Plaintiff to broadcast the Event were

provided with the electronic decoding capability and/or satellite coordinates necessary to receive

the signal of the Event.

         11.      On May 6, 2017, either by satellite transmission or through unauthorized receipt

over a cable system, Defendant willfully intercepted or received the interstate communication of

the Event. In the alternative, Defendant assisted in the receipt of the interstate communication of

the Event. Defendant then transmitted, divulged and published said communication, or assisted

in transmitting, divulging and publishing said communication, to patrons within the

Establishment.

         12.      Defendant misappropriated Plaintiff’s licensed exhibition of the Event and

infringed upon Plaintiff’s exclusive rights while avoiding proper payment to Plaintiff.


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Defendant’s actions were committed willfully and with the express purpose and intent to secure a

commercial advantage and private financial gain.

         13.      Defendant enabled the patrons within the Establishment to view the Event to

which neither Defendant nor the Establishment’s patrons were entitled to do.

         14.      The persons whom Defendant permitted to view the Event would otherwise have

been able to view it at a commercial establishment only if said commercial establishment was

properly licensed and authorized by Plaintiff.

         15.      Defendant was not authorized to intercept, receive or transmit the communication

of the Event or to assist in such actions in any form or at any time.

                                    VIOLATION OF 47 U.S.C. § 553 OR § 605

         16.      Defendant’s wrongful actions in connection with the Event, as described above,

violate 47 U.S.C. Section 553, or Section 605.

                                           DEMAND FOR RELIEF SOUGHT

        Plaintiff demands that the Court sign and cause to be entered a judgment in favor of

Plaintiff and against Defendant for:

                  (a)       Statutory damages in an amount up to Ten Thousand Dollars ($10,000.00)
                            pursuant to 47 U.S.C. § 553(c)(3)(A)(ii);
                  (b)       Statutory damages for willfulness in an amount up to Fifty Thousand
                            Dollars ($50,000.00), pursuant to 47 U.S.C. § 553(c)(3)(B);
                  (c)       Statutory damages in an amount up to Ten Thousand Dollars ($10,000.00)
                            pursuant to 47 U.S.C. § 605(e)(3)(C)(i)(II);
                  (d)       Statutory damages in an amount up to One Hundred Thousand Dollars
                            ($100,000.00) pursuant to 47 U.S.C. § 605(e)(3)(C)(ii);
                  (e)       Full costs and expenses of this action, including reasonable attorney’s
                            fees, pursuant to 47 U.S.C. §§ 553(c)(2)(C) and 605(e)(3)(B)(iii);
                  (f)       Pre and post-judgment interest at the highest rate permitted by law; and
                  (g)       Such other and further relief to which Plaintiff is entitled.


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                                           Respectfully submitted,



                                           By:
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                                                  Attorney-in-charge

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                                           ATTORNEYS FOR PLAINTIFF




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